Case 2:05-cr-20218-SH|\/| Document 3 Filed 08/03/05 Page 1 of 2 Page|D 3

UNITED sTATEs DIsTRIcT couRT <?72/,¢
FoR THE FiL‘E=.‘;~ O.C-

WESTERN DISTRICT OF TENNESSEE
USSUG-B PH 3=h0
0000000¢¢0++¢+0000++00000000+000000¢++0+¢+¢¢+0++¢+00++++00 +¢000+¢++

UNITED STATES OF AMERICA

 

l ..
cR. No. 05-202?&§,%§
vs. ` `

SEAN SIMPSON

\_/`,`.¢`.¢~_¢v

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UENDUM

 

The United States Attorney's Office applies to the Court for a Writ
to have SEAN SIMPSON, DOB: 10/12/78, SSN: XXX-XX-XXXX, RNI: 241855
BOOKING§ 05120081, now being detained in the Shelby County Jail, appear
before the Honorable Tu M. Pham on Monday, August 8, 2005 @ 2:00 p.m. for
Initial Appearance and for such other appearances as this Court may
direct.

Respectfully submitted this 3rd day of gust, 005.

eddie - \
Speo ssi tan . S. Attorney

.§.§...¢......0.§.§00§¢§0§.0.0.0...§..¢.00§§0§.§.0.....0§§§§§0§§..§§

 

Upon consideration of the foregoing Application, DAv:l:n JoLLEY, U.S.
MARSHAL, WESTERN DIs'rR:l:c'r oF Tsmssss, M.sm=nrs, TN., SHERIFF/WARREN, SHELBY CouNTY
JAIL, MEMPHIS, TN.

YOUR.ARE HEREBY COMMANDED to have SEAN SIMPSONl DOB: 10[12[78c SSN:
411-33-17'71, RNI:` 241855 BOOKING# 05120081.r appear before the Honorable
Tu M. Pham on the date and time aforementioned.

ENTERED this gsr-g dayl of August, 2005.

f___-

l

UNITED STATES MAGISTRATE JUDGE

This dochent entered on the docket sh et In co pile e
with Rufe 55 andlor 32be FBCrP on __i__££é§§'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-202] 8 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

